     Case 2:20-cv-00101-KJD-DJA Document 26
                                         25 Filed 05/15/20
                                                  05/14/20 Page 1 of 2



 1

 2
     MICHAEL P. LOWRY, ESQ.
 3   Nevada Bar No. 10666
     E-mail: Michael.Lowry@wilsonelser.com
 4   6689 Las Vegas Blvd. South, Suite 200
     Las Vegas, Nevada 89119
 5   Tel: 702.727.1400/Fax: 702.727.1401
     Attorneys for Ernest Jacobs; Keolis Transit Services,
 6   LLC
 7                                         DISTRICT COURT
 8                                      CLARK COUNTY, NEVADA
 9   DAMIAN HAMILTON                                  Case No.: 2:20-cv-101
10                         Plaintiff,                 Defendants’ Motion to Remove from Service
                                                      List
11    vs.
12   KEOLIS TRANSIT SERVICES, LLC dba
     KEOLIS TRANSIT AMERICA dba KEOLIS
13   TRANSPORTATION dba REGIONAL
     TRANSPORTATION COMMISSION OF
14   SOUTHERN NEVADA dba RTC; ERNEST
     JACOBS; DOE BUS DRIVER I-V; DOE DOG
15   OWNER I-V; ROE BUS COMPANY I-V; ROE
     EMPLOYER I-V; ROE COMPANY I-V
16
                           Defendant.
17

18
             Defendants move to remove attorney Betsy C. Jefferis from the CM/ECF electronic
19
     service list. Ms. Jefferis is leaving Wilson Elser to pursue a new opportunity and we wish her all
20
     the best.
21

22           .

23

24

25

26
27

28                                                  -1-


     1600997v.1
     Case 2:20-cv-00101-KJD-DJA Document 26
                                         25 Filed 05/15/20
                                                  05/14/20 Page 2 of 2



 1     DATED this 14th day of May, 2020.

 2

 3

 4
                                             BY: /s/ Michael Lowry
 5                                               MICHAEL P. LOWRY, ESQ.
                                                 Nevada Bar No. 10666
 6                                               6689 Las Vegas Blvd. South, Suite 200
                                                 Las Vegas, Nevada 89119
 7                                               Tel: 702.727.1400/Fax: 702.727.1401
                                                 Attorneys for Ernest Jacobs; Keolis Transit
 8                                               Services, LLC
 9
                                           Certificate of Service
10
             Pursuant to NRCP 5, I certify that I am an employee of Wilson Elser Moskowitz
11
     Edelman & Dicker LLP, and that on May 14, 2020, I served the Defendants’ Motion to Remove
12
     from Service List as follows:
13
                    by placing same to be deposited for mailing in the United States Mail, in a sealed
14                  envelope upon which first class postage was prepaid in Las Vegas, Nevada;
15
                    via electronic means by operation of the Court’s electronic filing system, upon
16                  each party in this case who is registered as an electronic case filing user with the
                    Clerk;
17

18     Price Beckstrom PLLC
       7312 W. Cheyenne Ave., Suite 5
19     Las Vegas, NV 89129
20

21                                         BY:    /s/ Cynthia Kelley
                                                  An Employee of
22

23

24     IT IS SO ORDERED.
                                             _________________________________
25
       DATED: May 15, 2020                   DANIEL J. ALBREGTS
26                                           UNITED STATES MAGISTRATE JUDGE

27

28                                                   -2-


     1600997v.1
